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IN THE UNITED STATES DISTRICT COURT: ~ IGS, SW MEXICO
MAY -6 2071

    
 
 

FOR THE DISTRICT OF NEW MEXICO
MITCHELL &. ELFERS
CLERK OF COURT

UNITED STATES OF AMERICA, )
)
Plaintiff, ) CRIMINALNO. 2|- k2L VIS)
)
vs. )
)
DAVID WILLIAM HILL, )
)
Defendant. )
WAIVER OF INDICTMENT

 

DAVID WILLIAM HILL, the above named defendant, who is accused of 21 U.S.C. §§
841(a)(1) and (b)(1)(B): Possession with Intent to Distribute 500 grams and More of a Mixture
and Substance Containing a Detectable Amount of Cocaine, and 18 U.S.C. § 2: Aiding and
Abetting, being advised of the nature of the charge and of the defendant's rights, hereby waives in
open court prosecution by indictment and consents that the proceeding may be by information

instead of by indictment.

SL. U —

DAVID WILLIAM HILL
Defendant

DANIEL RUBIN
Attorney for Defendant

 

 

Date: Sl o- 2 |

 

 
